     Case 5:19-cv-02410-CJC-SHK Document 12 Filed 02/18/20 Page 1 of 2 Page ID #:46




                                          UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE NUMBER:
]ames Rutherford, an individual
                                                     Plaintiff(s)
                                                                                   5:19-02410-CJC(SHKx)
                                  V.

                                                                       ADA DISABILITY ACCESS LITIGATION:
E & I Venture, LLC,a California limited Liability company; and                APPLICATION FOR STAY
DOES 1-10, inclusive                               Defendant(s)               AND EARLY MEDIATION



1.    Party(name):              E & I Venture, LLC                        requests a stay of proceedings and early
      mediation through the Court's ADR Program
2.    The complaint in this case asserts a claim under Title III of the Americans with Disabilities Act("ADA"),
      42 U.S.C.§§ 12181-12189.

3.    The party filing this Application for Stay and Early Mediation requests that the Court:

      a.    Stay these proceedings;

      b.    Schedule an early mediation through the Court's ADR Program;

      c.    Order Plaintiff to file with the Court and serve on Defendant(s) within fourteen (14) days of the date
            ofthe Order granting Application for Stay and Early Mediation a statement that includes the
            following:
            1)     An itemized list of specific conditions on the subject premises that are the basis of the claimed
                   violations of the ADA;and

            2)     An itemized list of damages and,for each item, the amount sought.

      d.    Order Defendant to file with the Court and serve on Plaintiff(s) at least ten (10)days before the date
            set for the early mediation any evidence Defendant intends to rely upon to support a claim that the
            alleged violations have been remedied or that no violation exists.


Date: 02/18/2020




                    Steven A. Simons                                                       /S/
                   Type or Print Name                                Signature ofAttorney(or Party without Attorney)



                            Opposition to this Application for Stay and Early Mediation
                       must be filed no later than seven (7)days from the date of service of this
                                      Application for Stay and Early Mediation.


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 1                                        PROOF OF SERVICE

2    STATE OF CALIFORNIA                )
                                        )
3    COUNTY OF LOS ANGELES              )
4
     I am a resident of the County of Los Angeles, State of California, I am over the age of 18 years anc
5    not a party to the within action; my business address is 9010 Corbin Ave., Ste. 17B, Northridge
     CA 91324.
6
     On February 18, 2020,1 served the foregoing document described as:
7
      ADA DISABILITY ACCESS LITIGATION: APPLICATION FOR STAY AND EARLY
8                                              MEDIATION

9
     Said document was served on the interested party or parties in this action by
10
     [ X ] By CME/CF: the document was electronically served on the parties to this action via the
11   mandatory United States District Court of California CM/ECF system upon electronic filing of the
     above described document.
12
     []BY MAIL I deposited such envelope in the mail at Northridge, California. The envelope was
13    mailed with postage thereon fully prepaid. I am "readily familiar" with my firm's practice of
     collection and processing correspondence for mailing. It is deposited with U.S. postal service on
14   that same day in the ordinary course of business. I am aware that on the motion of the party(ies)
15
     served, service is presumed invalid if the postal cancellation date or postage meter date is more
     than 1 day after date of deposit for mailing in affidavit
16
     Executed on February 18, 2020 at Northridge, California.
17
     I declare under penalty of perjury under the laws of the State of California and United States o]
18   America that the above is true and correct.
                                                          /S/
19                                                 Steven A. Simons

20
                                              MAILING LIST
21
     Case                        James Rutherford vs. E & I Venture, LLC, et al.
22   Court                       USDC- Central District of California
     Case Number                 5:19-02410-CJC(SHKx)
23
     Plaintiffs Counsel:
24   Joseph R. Manning Jr., Esq.
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     Newport Beach, CA 92660
26
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27   Email: DisabilityRights@manninglawoffice.com

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